

People v Briggs (2022 NY Slip Op 06890)





People v Briggs


2022 NY Slip Op 06890


Decided on December 06, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 06, 2022

Before: Renwick, J.P., Manzanet-Daniels, Gesmer, Kennedy, Shulman, JJ. 


Ind. No. 1428/19 Appeal No. 16800 Case No. 2020-04243 

[*1]The People of the State of New York, Respondent,
vAshombre Briggs, Defendant-Appellant.


Robert S. Dean, Center for Appellate Litigation, New York (David J. Klem of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Julia Gorski of counsel), for respondent.



Judgment, Supreme Court, New York County (Mark Dwyer, J.), rendered July 10, 2020, convicting defendant, upon his plea of guilty, of attempted robbery in the first degree, and sentencing him to a term of four years, with three years' postrelease supervision, unanimously modified, as a matter of discretion in the interest of justice, to the extent of reducing the postrelease supervision component of the sentence to 2½ years, and otherwise affirmed.
We find the sentence excessive to the extent indicated. The record does not
establish a valid appeal waiver. THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: December 6, 2022








